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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
KRISTIE SMALL,                       ) Case No. 1:19-cv-01314-TNM
                                     )
                        Plaintiff,   )
                                     )
            v.                       )
                                     )
OFFICE OF CONGRESSMAN                )
HENRY CUELLAR,                       )
                                     )
                        Defendant.   ) August 17, 2021
                                     )

                           JOINT STIPULATION OF DISMISSAL

     Plaintiff KRISTIE SMALL and Defendant OFFICE OF CONGRESSMAN HENRY

CUELLAR, by their respective attorneys, and pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(ii), hereby jointly stipulate to the dismissal of the above-captioned matter, in its

entirety and with prejudice. The parties expressly waive their rights to appeal. Each party shall

bear her/its own costs and fees.

                                    Respectfully submitted,

      /s/ Sara McDonough                          /s/ Trevor S. Blake II
Alan Lescht [441691]                            Mark Stewart Hayes [976878]
Sara McDonough [1022641]                        Ann R. Rogers [441622]
Tamara L. Slater [1616337]                      Russell H. Gore [449231]
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         Case 1:19-cv-01314-TNM Document 30 Filed 08/17/21 Page 2 of 2




                                CERTIFICATE OF SERVICE

     I hereby certify that on August 17, 2021, I filed a copy of the foregoing via the Court’s

electronic filing system, which will serve notice on:

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                                                               /s/
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